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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                         )
MICHAEL DARDASHTIAN, individually and on )                   Case No. 17 CV 4327 (LLS)
behalf of COOPER SQUARE VENTURES, LLC )
NDAP, LLC and CHANNEL REPLY              )
                   Plaintiffs,           )
                                         )
        -against-                        )                   CERTIFICATION OF
                                         )                   DAVID GITMAN
DAVID GITMAN, JEREMY FALK, SUMMIT        )
ROCK HOLDINGS, LLC, ACCEL COMMERCE, )
LLC, DALVA VENTURES, LLC,                )
KONSTANTYN BAGAIEV, OLESKKII             )
GLUKHAREV and CHANNEL REPLY, INC.        )
                   Defendants.           )
                                         )

I, DAVID GITMAN, pursuant to the requirements of 28 U.S.C. § 1746, hereby certify as

follows:

    1. I am one of the defendants in this action. I have personal knowledge of the matters

stated in this declaration.

    2. I understand that Michael Dardashtian, individually and on behalf of Cooper Square

Ventures, LLC, NDAP, LLC, and Channel Reply (the "Plaintiffs") have filed a lawsuit

against me and others, alleging, among other things, that I took from Plaintiffs "[p]hysical

and/or electronic copies, backups, discs, drives, including but not limited to USB drives, or

other storage devices containing copies or originals" of Plaintiffs' "Confidential Information

as defined in the [Cooper Square Ventures, LLC] Operating Agreement, trade secrets,

company data or other property now in Defendant Gitman, Dalva Ventures, Channel Reply,

Inc. and Accel Commerce's possession, custody, or control" (the "Materials"). See Order
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Amending 6/8/17 Order to Show Cause for Preliminary Injunction and Temporary Restraints

(the "Order"), ¶ s.

    3. I did not make any copies, in any format (print or electronic), of any of the Materials

and do not have any such materials in my possession, custody, or control.

    4. I further understand that the Court has directed me to "[i]mmediately provide and

restore Plaintiffs Michael Dardashtian with full and complete access to all NDAP, CSV, and

Channel Reply electronic accounts, including but not limited to, all password access to all

codes, accounts on Google Domain, bank accounts, e-mail accounts, payment portal

accounts, and/or any other password-protected account and information relating to NDAP,

CSV, and Channel Reply, including all twenty-two (22) accounts listed in Exhibit 58 to the

Affidavit of Michael Dardashtian in support of the OSC." Order, ¶ g.

    5. I have provided Mr. Dardashtian with full and complete access to all existing NDAP,

CSV and Channel Reply electronic accounts which are owned and/or paid for by Mr.

Dardastian and/or the plaintiff entities, which I have knowledge of and access to. Mr.

Dardastian may have access to other accounts which I am not aware of and which I do not

have access to.

    6. I further understand that the Court has directed me to redeposit into the CSV Bank of

America banking account all monies recently withdrawn by me from this account and to pay

any overdraft fees incurred since May 27th, 2017. Order, ¶ b.

    7. I have transferred to the CSV Bank of America banking account all monies

withdrawn by me from this account since May 27, 2017.




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                I hereby certify that the foregoing statements by me are true. I am aware that if any

of the foregoing statements are willfully false that I am subject to punishment.



Dated: June 13, 2017


                                                             _______________________
                                                             David Gitman




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